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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI



 DYLAN MARTIN, on behalf of himself and
 all others similarly situated,

                                Plaintiff,            Case No.: 4:20-cv-01128-RLW

        v.

 LINDENWOOD UNIVERSITY,

                                Defendant.


     JOINT MOTION FOR LEAVE TO DESIGNATE A NON-COURT CERTIFIED
                             NEUTRAL

       Plaintiff Dylan Martin and Defendant Lindenwood Female College d/b/a Lindenwood

University (the “Parties”), by and through their respective counsels, hereby respectfully submit

their Motion for Leave to Designate a Non-Court Certified Neutral, the Hon. Wayne R. Andersen

(Ret.) of JAMS Mediation, as follows:

   1. Pursuant to this Court’s July 1, 2021 Order, this case is referred to Mediation.

   2. The Parties have conferred with one another and have selected the Honorable Wayne

       Andersen as the neutral.

   3. Prior to working as a mediator, Judge Andersen served as a U.S. District Judge for the

       Northern District of Illinois for 19 years and as a state court trial judge for 7 years.

   4. Judge Andersen has special subject matter expertise germane to this matter, including

       acting as a neutral in substantially similar cases against schools that canceled in-person

       instruction in response to the COVID-19 pandemic.


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 5. Judge Andersen has mediated numerous consumer class actions adjudicated by other courts

    in this district, including in front of Chief Judge Rodney W. Sippel.

 6. Judge Andersen has helped parties resolve disputes in a wide array of matters including

    acting as a mediator, arbitrator and discovery master for commercial, class action,

    employment, health care, IP, securities and personal injury matters. Judge Andersen has

    mediated dozens of class action matters, resolving both the substantive claims and the

    attorneys' fees issues for many of these cases. Judge Andersen’s class action experience

    has additionally covered the areas of product liability cases, Telephone Consumer

    Protection Act cases, Fair Credit Reporting Act cases, employment cases, banking/finance

    cases, general consumer protection cases, insurance coverage issues, and attorney’s fees

    disputes.

 7. This motion is accompanied by a Notice of Non-Court Certified Neutral, attached hereto

    as Exhibit A.




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Dated: July 22, 2021

Respectfully Submitted,

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                                CERTIFICATE OF SERVICE
       I hereby certify that on July 22, 2021, a copy of the foregoing was filed electronically with

the Clerk of the Court using the CM/ECF system, which in turn forwarded notification of same to

all counsel of record in these proceedings.


                                                     By: /s/ Joseph I. Marchese
                                                             Joseph I. Marchese




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